AO 245B (WDNC Rev. 4/04) Judgment in a Criminal Case



                                                 United States District Court
                                            For The Western District of North Carolina

UNITED STATES OF AMERICA                                                         JUDGM ENT IN A CRIM INAL CASE
                                                                         (For Offenses Com m itted On or After Novem ber 1, 1987)
      V.
                                                                         Case Num ber: 5:05CR234-5-V
TIMOTHY RAY W ATTS, JR.
                                                                         USM Num ber: 20471-058
                                                                         Sam uel W inthrop
                                                                         Defendant’s Attorney

THE DEFENDANT:

X     pleaded guilty to count(s) 1.
      Pleaded nolo contendere to count(s) which was accepted by the court.
      W as found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                            Date Offense
 Title and Section               Nature of Offense                                          Concluded                         Counts

 21:846                          Conspiracy to distribute controlled substance              8/23/05                           1
                                 m etham phetam ine



     The defendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

      The defendant has been found not guilty on count(s) .
X     Count(s) 6 (is)(are) dism issed on the m otion of the United States.

       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully
paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States attorney of any m aterial change
in the defendant’s econom ic circum stances.

                                                                                 Date of Im position of Sentence: August 7, 2007




                                                                                 Date:          August 24, 2007




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                                                               IM PRISONM ENT

     The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of
EIGHTY-SEVEN (87) MONTHS.




X    The Court m akes the following recom m endations to the Bureau of Prisons:
          That defendant be designated to a facility as close as possible to Colem an, Florida.
          That defendant be allowed to participate in any available substance abuse treatm ent program s while incarcerated, and if
          eligible, receive benefits of 18:3621(E)(2).
          That defendant be allowed to participate in educational & vocational opportunities while incarcerated.
          That defendant support his dependents while incarcerated under the Inm ate Financial Responsibility Program .

X    The defendant is rem anded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:

           At        On     .
           As notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


           Before 2 pm on .
           As notified by the United States Marshal.
           As notified by the Probation or Pretrial Services Office.

                                                                    RETURN

I have executed this Judgm ent as follows:




       Defendant delivered on                                        To

At                                                     , with a certified copy of this Judgm ent.


                                                                                      United States Marshal

                                                                             By
                                                                                      Deputy Marshal




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                                                                SUPERVISED RELEASE

      Upon release from im prisonm ent, the defendant shall be on supervised release for a term of FOUR (4) YEARS.

      The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low
      risk of future substance abuse.

                                                   STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.    The defendant shall not commit another federal, state, or local crime.
2.    The defendant shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
3.    The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the
      term of supervised release on a schedule to be established by the court.
4.    The defendant shall provide access to any personal or business financial information as requested by the probation officer.
5.    The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.    The defendant shall not leave the Western District of North Carolina without the permission of the Court or probation officer.
7.    The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall submit a truthful and complete written
      report within the first five days of each month.
8.    A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release
      from custody of the Bureau of Prisons.
 9.   The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.   The defendant shall support his or her dependents and meet other family responsibilities.
11.   The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by
      the probation officer.
12.   The defendant shall notify the probation officer within 72 hours of any change in residence or employment.
13.   The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or other
      controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.   The defendant shall participate in a program of testing and treatment or both for substance abuse if directed to do so by the probation officer, until such
      time as the defendant is released from the program by the probation officer; provided, however, that defendant shall submit to a drug test within 15 days
      of release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions
      of 18:3563(a)(5) or 18:3583(d), respectively.
15.   The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
16.   The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless
      granted permission to do so by the probation officer.
17.   The defendant shall submit his person, residence, office or vehicle to a search, from time to time, conducted by any U.S. Probation Officer and such other
      law enforcement personnel as the probation officer may deem advisable, without a warrant; and failure to submit to such a search may be grounds for
      revocation of probation or supervised release. The defendant shall warn other residents or occupants that such premises or vehicle may be subject to
      searches pursuant to this condition.
18.   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
      observed by the probation officer.
19.   The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcement officer.
20.   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
      Court.
21.   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or personal
      history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with such notification
      requirement.
22.   If the instant offense was committed on or after 4/24/96, the defendant shall notify the probation officer of any material changes in defendant’s economic
      circumstances which may affect the defendant’s ability to pay any monetary penalty.
23.   If home confinement (home detention, home incarceration or curfew) is included you may be required to pay all or part of the cost of the electronic
      monitoring or other location verification system program based upon your ability to pay as determined by the probation officer.
24.   The defendant shall cooperate in the collection of DNA as directed by the probation officer.

ADDITIONAL CONDITIONS:




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                                                   CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


               ASSESSM ENT                                          FINE                                   RESTITUTION

                   $100.00                                          $0.00                                       $0.00



                                                                    FINE


      The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X          The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X          The interest requirem ent is waived.

           The interest requirem ent is m odified as follows:


                                                  COURT APPOINTED COUNSEL FEES

           The defendant shall pay court appointed counsel fees.

           The defendant shall pay $                   towards court appointed fees.




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                                                       SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

      A     X         Lum p sum paym ent of $ 100.00 due im m ediately, balance due

                      not later than     , or
                      in accordance             (C),   (D) below; or

      B               Paym ent to begin im m ediately (m ay be com bined with           (C),        (D) below); or

      C               Paym ent in equal            (e.g. weekly, m onthly, quarterly) installm ents of $              to com m ence
                      (e.g. 30 or 60 days) after the date of this judgm ent; or

      D               Paym ent in equal             (e.g. weekly, m onthly, quarterly) installm ents of $        to com m ence
                       (e.g. 30 or 60 days) after release from im prisonm ent to a term of supervision. In the event the entire am ount
                      of crim inal m onetary penalties im posed is not paid prior to the com m encem ent of supervision, the U.S.
                      Probation Officer shall pursue collection of the am ount due, and m ay request the court to establish or m odify a
                      paym ent schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

      The defendant shall pay the cost of prosecution.
      The defendant shall pay the following court costs:
      The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of
im prisonm ent paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary
penalty paym ents are to be m ade to the United States District Court Clerk, 200 W est Broad Street, Room 100, Statesville, NC
28677, except those paym ents m ade through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal
m onetary penalty paym ents are to be m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) com m unity restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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